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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


BONNIE FISH, et al.,                                           Case No. 1:09-cv-01668
     Plaintiffs,
                                                              Honorable Jorge L. Alonso
       vs.
                                                               Honorable Maria Valdez
GREATBANC TRUST COMPANY, et al.,
    Defendants.



     DEFENDANTS LEE MORGAN, ASHA MORAN AND CHANDRA ATTIKEN’S
             MOTION FOR JUDGMENT ON PARTIAL FINDINGS

I.     PRELIMINARY STATEMENT

       This is a motion by Defendants Lee Morgan, Asha Moran and Chandra Attiken for a

defense judgment on all claims at the close of Plaintiffs’ case pursuant to Federal Rule of Civil

Procedure 52(c). That Rule allows the Court, sitting as the trier of fact, to enter judgment at the

end of the plaintiff’s case in accordance with its own view of the evidence, and is designed to

“streamline[] bench trials by authorizing the judge, having heard all the evidence the plaintiff has

to offer, to make findings of fact adverse to the plaintiff, including determinations of credibility,

without waiting for the defense to put on its case, since the evidence presented by the defendant

would be unlikely to help the plaintiff.” Wsol v. Fiduciary Mgmt. Assocs., 266 F.3d 654 (7th Cir.

2001). A judgment pursuant to Rule 52(c) is reviewed under the highly deferential clear error

standard.

       As described in Defendants’ opening statement, Plaintiffs’ claims against the remaining

Defendants all require proof that GreatBanc, the sole named fiduciary with responsibilities to the

plan for purposes of the 2003 transaction, breached a duty to the plan. With respect to Plaintiffs’

ERISA section 404 prudence claim, Defendants can have no direct liability because the Antioch
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Board of Directors amended the plan to add section 5(f) so that as of August 20, 2003 GreatBanc

had the sole discretion to tender the plan’s shares to the Company. The evidence also proves that

GreatBanc and Defendants acted in accordance with that Plan Amendment. As a result,

Defendants are entitled to judgment on Plaintiffs’ prudence claim.

       Because the evidence entitled Defendants to judgment on the prudence claim, the only

remaining basis for liability under section 404 is a derivative duty-to-monitor claim. The law is

clear that proving such a claim against Defendants requires Plaintiffs to show that GreatBanc

breached a duty to the plan. The Court should enter a defense judgment on this claim because

Plaintiffs failed to introduce any evidence of an underlying breach by GreatBanc through any

fact or expert witness. Plaintiffs’ evidentiary failure in this regard likewise dooms its claim for

co-fiduciary liability under ERISA section 405, another clear-cut derivative claim under ERISA.

       Furthermore, even if Plaintiffs did put on evidence sufficient to prove a breach of duty by

GreatBanc, the only entity with a duty to monitor GreatBanc was Antioch’s Board of Directors,

not the ESOP Advisory Committee. Rather than sue the entire board, Plaintiffs chose to cherry-

pick two of its members, Mr. Morgan and Ms. Moran (Ms. Attiken was never a member of

Board, so she had no duty-to-monitor). The evidence in Plaintiffs’ case, however, proved that the

Board monitored GreatBanc throughout 2003 both directly (meetings with and regarding

GreatBanc) and through corporate officers like Nancy Blair, who was in constant communication

with GreatBanc and frequently reported to the Board.

       Likewise, Plaintiffs’ have no direct section 406(a) prohibited transaction claim against

the Defendants because, as noted, the evidence was that they were not fiduciaries and therefore

did not have discretion to “cause” the plan to engage in the 2003 transaction. Accordingly,

Plaintiffs remaining “prohibited transaction” claim against the Defendants is derivative. This



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means that only equitable relief against Defendants under section 409 is available to Plaintiffs,

but only if Plaintiffs could prove by a preponderance of the evidence that GreatBanc breached

section 406(a). Applying the plain language of ERISA section 406(a), however, Plaintiffs failed

to show that GreatBanc “caused” the plan to enter into a transaction with parties in interest. In

fact, the evidence in Plaintiffs’ case-in-chief showed that GreatBanc actually caused the plan not

to enter into the transaction by determining that it would not tender the ESOP shares to the

Company in the 2003 transaction.

       Furthermore, the evidence of the 2003 transaction structure showed indisputably that the

plan did not engage in any transaction at all, much less one with a party in interest. Accordingly,

there is no basis to proceed to the defense case on a section 406(a) claim because Plaintiffs have

not and cannot show that the plan engaged in a transaction with any party in interest. The

evidence showed that the plan did not buy or sell any shares in the 2003 tender offer. The non-

ESOP selling shareholders tendered their shares to the Company, and received consideration

from the Company. As a result, Plaintiffs have failed to carry their burden to prove a section

406(a) claim against GreatBanc, and Defendants are therefore entitled to judgment on Plaintiffs’

derivative claim against Defendants for equitable relief under ERISA section 409.

       Finally, Plaintiffs’ claim based on an alleged duty to inform GreatBanc of information

within the possession of the sponsor company, presumably arising under ERISA section 404, is

also without merit as a matter of law and as a matter of fact for failure of proof. Plaintiffs put on

no evidence that the ESOP Advisory Committee had a duty under ERISA to inform the trustee

generally. Nor did Plaintiffs point to any provision in the plan that imposes a general or specific

duty to inform the trustee of sponsor company information. Likewise as to the Board’s so-called

duty to inform. Moreover, Plaintiffs duty to inform claim related to the Board has been



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discredited in recently well-reasoned opinions of two District Courts that held no such explicit

duty exists in the ERISA statute. Moreover, the evidence in Plaintiffs’ case in chief was that

Antioch’s Board put in place a process to assure that GreatBanc would receive all the

information it requested. To find that Defendants as corporate directors breached a duty to

inform under these circumstances would be to impose upon corporate fiduciaries a duty,

completely divorced from the plain language of ERISA and its multitude of regulations, to know

themselves what specific information expert financial advisors require to make their decisions.

       But perhaps equally compelling is (i) the evidence that GreatBanc knew or should have

known of the existence of most, if not all, of the information Plaintiffs claim that GreatBanc did

not receive, and (ii) Plaintiffs failure to put any evidence in their case that the alleged failure to

inform damaged the plan. Not a single witness testified and not a single document provides

evidence that the information GreatBanc supposedly did not have or know about would have

either changed the terms of the transaction or would have prompted GreatBanc to tender the

shares, thereby stopping the transaction.

       And with respect to causation generally, Plaintiffs have failed to put on any credible

evidence that the company’s financial decline was proximately caused by the transaction or any

term of the transaction. Instead, the evidence has shown that the decline was caused by the

Company’s decline in sales. Said another way, Plaintiffs put in the record no proof that the

Company’s double-digit decline in sales beginning in 2006, more than two years after the

transaction, was proximately caused by any term of the 2003 transaction. In fact, Plaintiff

Monica Woosley admitted as much when she testified that neither the sales decline nor the

decline in share price beginning in 2005 was caused by the transaction or its terms. The proofs

show that external factors such as expansion of broadband internet, explosion of social media as



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the largest repository of photographs and smart phones (not cell phones with cameras), lead not

only to Antioch’s decline, but the decline of American corporate icons like Kodak and Polaroid,

and the failure of scrapbooking businesses like Archivers and ReCollections.

        Plaintiffs’ position also has important negative policy implications. They effectively ask

the Court to impose on Defendants the exact same responsibility and liability under this

transaction structure as if the Company had never retained GreatBanc. A judgment against

Defendants would serve as a powerful disincentive to any company to add an independent,

institutional trustee for an ESOP in a future transaction—why retain necessary independence and

expertise when it will have no legal benefit should the transaction be challenged?

        The law and evidence at trial have shown that Plaintiffs cannot recover on any of their

claims against Defendants. Their belated attempt to repackage their case as some sort of

corporate mismanagement case, tasking the ESOP Advisory Committee with everything from

scouring the market to assure the sponsor company has statistically based projection software to

monitoring the inherently corporate function of sales and income forecasting to prophesying the

broadband internet explosion and its effect on scrapbooking, must fail. For the reasons below,

the Court should grant Defendants Rule 52(c) motion and enter judgment in their favor.1




1
 The Court may grant judgment to Defendants in advance of January 12 (the scheduled beginning of the defense
case) and enter that judgment before putting on an opinion and/or findings and conclusions. Under this procedure,
the judgment would become appealable only upon entry of the Court’s findings and conclusions. That would
achieve party and judicial efficiency in terms of not moving forward with an unnecessary defense case and allow the
Court the time to state its findings and conclusions on a schedule convenient with the Court’s calendar. The Seventh
Circuit recently approved just such a procedure.

In Healix Infusion Therapy, Inc. v. Heartland Home Infusions, Inc., 733 F.3d 700 (7th Cir. 2013), the district court
put on a minute entry granting a defense judgment. See Healix Infusion Therapy, Inc. v. Heartland Home Infusions,
Inc., N.D. Ill. 1:10-cv-03772, Doc. 256. About two months later, the trial court entered written findings and
conclusions. Id. at Doc. 260. The Seventh Circuit affirmed.




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II.      APPLICABLE LEGAL STANDARD FOR A MOTION FOR JUDGMENT ON
         PARTIAL FINDINGS

         Federal Rule of Civil Procedure 52(c) enables a court to enter judgment in a non-jury trial

when the non-moving party has presented but has failed to prove its case. The Seventh Circuit

promotes Rule 52(c) as a tool for streamlining bench trials by allowing a court to rule against a

plaintiff without waiting for the defense to put on its case. Wsol, 266 F.3d at 654. The Rule

presents the opportunity for substantial efficiency, particularly in lengthy proceedings. “When a

party has finished presenting evidence and that evidence is deemed by the trier insufficient to

sustain the party’s position, the court need not waste time, but, rather, may call a halt to the

proceedings and enter judgment accordingly.” Feliciano v. Rullan, 378 F.3d 42, 59 (1st Cir.

2004).

         Unlike a motion in a jury trial for judgment as a matter of law, a court considering entry

of judgment under Rule 52 affords no special inferences in favor of the nonmoving party but,

rather, makes findings in accordance with its own view of the evidence. Pinkston v. Madry, 440

F.3d 879, 890 (7th Cir. 2006). In ruling on a Rule 52 motion, “the court is within its prerogative

to weigh the evidence, resolve any conflicts in it, and decide for itself where the preponderance

lies.” Int’l Union of Operating Eng’rs. Local Union 103 v. Indiana Constr. Corp., 13 F.3d 253,

257 (7th Cir. 1994).

         A district court’s factual findings pursuant to Rule 52(c) will not be set aside absent clear

error. Fillmore v. Page, 358 F.3d 496, 503 (7th Cir. 2004). “In addition, where the district court

‘correctly states the law, then his findings as to whether the facts meet the legal standard will be

disturbed only if they are clearly erroneous.’” Pinkston, 440 F.3d at 888 (quoting Daniels v.

Essex Group, Inc., 937 F.2d 1264, 1269 (7th Cir. 1991)). “Clear error is an extremely deferential

standard of review,” and requires the district court’s judgment to be affirmed as long as “the


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district court’s account of the evidence is plausible in light of the record viewed in its entirety.”

Id. (citing Anderson v. City of Bessemer, 470 U.S. 564, 573 (1985)).

       As the text of Rule 52(c) indicates, a “judgment on partial findings must be supported by

findings of fact and conclusions of law as required by Rule 52(a).” In turn, Rule 52(a) states that

the court “must find the facts specially and state its conclusions of law separately. The findings

and conclusions may be stated on the record after the close of the evidence or may appear in an

opinion or a memorandum of decision filed by the court.” Defendants stand ready to provide

proposed findings of fact and conclusions of law upon the Court’s request.

III.   ARGUMENT

       A.      Plaintiffs Have Failed to Offer Evidence Sufficient to Prove Their ERISA
               Section 404 Claim.

               1.      Plaintiffs Failed to Establish That Defendants Were ERISA Fiduciaries
                       for Purposes of the 2003 Transaction.

       Plaintiffs failed to offer evidence that Defendants were fiduciaries with respect to the

transaction, and have therefore failed to carry their burden of proof that Defendants breached the

prudence standard of ERISA section 404.

       “In every case charging breach of ERISA fiduciary duty, . . . the threshold question is . . .

whether [the defendant] was acting as a fiduciary (that is, was performing a fiduciary function)

when taking the action subject to complaint.” Pegram v. Herdrich, 530 U.S. 211, 226 (2000).

Here that analysis is simple as the evidence conclusively establishes that the Board of Directors

stripped Defendants of duties with respect to the 2003 transaction.

       Prior to the amending the plan, plan section 5(b) provided that the trustee may sell

company shares in the ESOP to the company, but only at the direction of the Committee. (JX-3,

at 13.) The evidence of record shows that the Board amended the plan as of August 20, 2003 by

adding section 5(f), which states that, “Notwithstanding the provisions of Section 5(a) and (b),

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the decision whether or not to tender shares of Company Stock to the Company in December

2003 shall be effected by [GreatBanc] (without directions from the [ESOP Advisory]

Committee), based on [GreatBanc’s] determination (in the exercise of its reasonable judgment)

that such decision is in the best interests of the Plan and the Participants…[.]” (JX-39

(Amendment No. 1 to the Amended and Restated Plan) at (1) (emphasis added). The Board

likewise amended the Antioch Company Employee Stock Ownership Trust Agreement. (JX-18

at (B)(6).) There is no evidence that Defendants interpreted these amendments as anything other

than GreatBanc assuming discretionary authority on behalf of the ESOP. Challenger v. Local

Union No. 1 of Int’l Bridge, Structural, & Ornamental Ironworkers, 619 F.2d 645, 649 (7th Cir.

1980) (“The trustees do not breach their fiduciary duties by interpreting the plan in good faith,

even if their interpretation is later determined to be incorrect.”); Peterson v. Petry, No. 06-2072,

2007 U.S. Dist. LEXIS 75204, at *14-15 (C.D. Ill. Oct. 10, 2007) (“As concerns a trustee's

fiduciary duty with regard to interpretation of the terms of a plan, trustees do not breach their

fiduciary duties by interpreting the plan in good faith, even if their interpretation is later

determined to be incorrect.” (internal quotation and citation omitted)).2

           Of course, the Court must apply the plain language of the plan because “it is well

established that it is the language of an ERISA plan that controls.” Cozzie v. Metropolitan Life

Ins. Co., 140 F.3d 1104, 1109 (7th Cir. 1998). Both the plan and the trust agreement are in

evidence, and the plain language of each stripped the Committee of the discretion it had under

the pre-amended plan to direct the trustee to sell ESOP stock to the company in the 2003 tender

offer. Judgment for Defendants on the section 404 prudence claim is therefore appropriate.




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    Unreported Lexis cases cited in this brief are attached as Exhibit A.

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       That Defendants were not fiduciaries for this transaction is consistent with the statutory

definition of fiduciary under ERISA. The statute “defines fiduciary status in functional terms,”

Brooks v. Pactiv Corp., 729 F.3d 758, 765 (7th Cir. 2013), by conferring fiduciary status only on

those that exercise “discretionary authority” in a particular function. See 29 U.S.C. §

1002(21)(A)(i) and (iii). “The power to act for the plan is essential to status as a fiduciary under

ERISA.” Klosterman v. Western Gen. Mgmt., 32 F.3d 1119, 1123 (7th Cir. 1994).

       Defendants had no ability “to act for the plan” because that responsibility was expressly

conferred by the Board of Directors on GreatBanc. The evidence showed that the Company’s

decision in this regard was purposeful and based on advice of corporate counsel, Marsha

Matthews, who recommended that the Company retain an independent, institutional trustee to

make decisions on the plan’s behalf with respect to the Transaction. (Tr. 2472:21–2473:3.) This

amendment was specifically intended to remove Defendants from the transaction process so that

their potential conflicts of interest as sellers could not either influence a directed trustee or

interfere with an independent trustee’s decision of whether or not to tender the plan’s shares. (Tr.

2473:16–2474:13; 1489:19-1490:19; 1534:24-1535:17.) And all the evidence introduced in

Plaintiffs’ case is that GreatBanc did exercise the fiduciary responsibility for the ESOP in

connection with the 2003 Transaction. GreatBanc negotiated and analyzed the terms of the

transaction for the ESOP and GreatBanc (with the input of its independent financial advisor and

legal counsel) elected to not tender the ESOP shares in the transaction. (See JX-39; JX-18; DX-

250; DX-37; Tr. 1221:23-1228:10.) Only GreatBanc, not the Defendants, had “power to act for

the Plan[.]” Klosterman, 32 F.3d at 1123. Defendants’ lack of discretionary authority means they

were not fiduciaries to the plan with respect to the 2003 transaction. This requires a defense

judgment on the section 404 claim. Neil v. Zell, 677 F. Supp. 2d 1010, 1024 (N.D. Ill. 2010)



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(dismissing benefits committee when fiduciary duties had been delegated to an independent

trustee).3

                  2.       Business Decisions Are Not ERISA Fiduciary Functions.

         The business mismanagement evidence introduced by Plaintiffs at trial is irrelevant in

establishing that Defendants breached an ERISA-based fiduciary duty of prudence because they

were not acting as ERISA fiduciaries in performing as corporate officers and directors.

         The law makes clear that corporate officers “wear two hats, and . . . they assume

fiduciary status only when and to the extent that they function in their capacity as plan

administrators, not when they conduct business that is not regulated by ERISA.” Fletcher v.

Kroger Co., 942 F.2d 1137, 1139 (7th Cir. 1991). Business decisions, “even when they affect a

plan’s financial health,” are not ERISA fiduciary functions. Neil, 677 F. Supp. 2d at 1022 (citing

Ames v. Am. Nat’l Can Co., 170 F.3d 751, 757 (7th Cir. 1999)).

         Much of the evidence Plaintiffs introduced challenged, if anything, Defendants’ conduct

as corporate managers, not as ERISA fiduciaries. Plaintiffs three lead-off witnesses are examples

in this regard. Ms. Anderson criticized the Company for being insufficiently attentive to

supposed dissatisfaction among consultants, Dr. Mizen complained the Company was slow to

adopt digital technology, and Ms. Harris criticized the Company’s product offerings.4 Each of


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  Plaintiffs focused on Defendants’ status as ESOP Advisory Committee members. This is irrelevant. And although
the ESOP Advisory Committee was a named fiduciary under the plan, ERISA liability can only be imposed where
the defendant “was acting as a fiduciary . . . when taking the action subject to complaint.” Peagram, 530 U.S. at 226.
Moreover, “a fiduciary is not a fiduciary for every purpose but only to the extent that he performs one of the
described functions.” Klosterman, 32 F.3d at 1123. In other words, “a person can be a fiduciary for some purposes
but not others.” King v. Nat’l Human Res. Comm., Inc., 218 F.3d 719, 723 (7th Cir. 2000) (citing Lockheed Corp. v.
Spink, 517 U.S. 882 (1996)). The “purpose” at issue in this case was the 2003 Transaction and Defendants were not
a fiduciary for that purpose.
4
  Because the evidence is irrelevant, we pause only briefly to address the business mismanagement testimony
offered by these witnesses. With respect to Ms. Anderson, there is no dispute that she was a valuable part of
Creative Memories’ business. But her principal role was as an ambassador, not day-to-day business management.
Moreover, while management did take into account her views, the Company also had many objective, non-anecdotal
ways to measure consultant satisfaction. (Tr. 1657:17-1658:1; 2141:14-22; 3116:17-3119:11.) With respect to

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these items—relationship management, corporate strategy, product offerings—is a pure business

function and even missteps in performing that function are not conduct regulated by ERISA.5

         Plaintiffs criticized the Company’s financial projections. There are a number of threshold

problems with this position. First, Plaintiffs failed to sufficiently link the projections to

Defendants. The evidence established that the Company’s business projection process involved

many steps including business unit leaders, the finance department, TAC management, and

finally approval by the Company Board of Directors. (Tr. 3033:3-3034:3, 3042:16-3047:14; JX-

58.) Plaintiffs have not shown that Defendants themselves were responsible for the projections

or, even if they wanted to challenge them, could have done anything about the projections as

two-ninths of the Board of Directors or the Vice President of Human Resources.

         Beyond this, Plaintiffs have not and cannot cite any authority that the development of

business projections is an ERISA function. And the suggestion that projecting future business

revenue is a retirement plan function and not a business function strains all credulity.


products, no doubt Ms. Harris was right to emphasize the importance of quality products, which is exactly why the
Company hired her to manage that corporate function and worked to develop new products. Some were very
successful. (Tr. 3129:4-8.) Ms. Harris’s critique is only valid if the Company was not trying to find the market,
which it clearly was. As for Dr. Mizen, in his words that strangely disappeared from the video version of his 2003
presentation, Creative Memories was a leader in digital technology in 2003. (DX-752; DX-753; Tr. 678:1-685:8.)
The company also considered digital technology on many occasions. (PX-14; JX-22; DX-71; Tr. 640:10-651:10.)
That includes at strategy conferences only weeks before the 2003 Transaction. (Tr. 1428:3-1461:15; PX-149; PX-
160; JX-16.) The decline in the company’s sales was an unforeseeable event caused by unforeseeable changes in the
marketplace. Indeed, in the words of Mr. Reilly, Plaintiffs’ expert, “I don’t know that anyone was able to predict
2006 and 2007 because the company’s results were a lot lower than any projection, any forecast indicated.” (Tr.
3991:21-24.)
5
  We suspect it was not lost on the Court that Plaintiffs’ mismanagement/inadequate projection case is essentially
built on a closed feedback loop. Out of a few thousand people that worked at the Antioch Company from 2000-
2010, just a handful of them were called by Plaintiffs to testify. Plaintiffs’ counsel signed them all up as clients, the
experts relied on phone calls with these individuals for their facts (never mind reading some or all of the sworn
deposition testimony), one expert was referred by one of the client witnesses, the experts rely on one another’s work,
the lawyers sponsor the experts and represent the factual sources, and so on. When one peels back the layers, nearly
the entire factual foundation is based on Dr. Mizen and Ms. Anderson espousing, in hindsight, different views than
the following people who in 2003 were not pessimistic about the Creative Memories business: GreatBanc, Duff,
Houlihan the banks lending into the transaction, any person taking the “package” in the deal (tying their future
interests to the Company), the nine-member Board of Directors that approved a financial plan calling for growth, the
management team that invested in infrastructure to build more capacity, and the 70,000 or so people who served as
consultants for the Company.

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         There is also no evidence suggesting that the future business projections were

unreasonable.6 The lending syndicate clearly did not think so when it lent the Company funds in

connection with the transaction. (See, e.g., DX-132 at JPMC0004 (“based on the Company’s

conservative projection…”); Powe Dep. 182:2-184:9.) Peter Abrahamson of Deloitte did not

think so. (Tr. 1363:3-6.) Nancy Blair told the Court that among Duff and Houlihan, “there were a

lot of contentious issues in this transaction. The projections were not one of them.”7 Ms. Moran

testified as to how the Company’s future financial performance was projected to slow relative to

past performance. (Tr. 3076:13-3079:20; PX-317 at PX-317-0032.) Even Plaintiffs’ expert, Mr.

Reilly, could not criticize the forecasts.8 And perhaps most importantly, the evidence is that Duff

did not rely on management’s forecasts but rather generated their own in connection with that

firm’s diligence on the transaction. (JX-37.)

                  3.       Plaintiffs’ Duty to Monitor Claim Is Legally and Factually
                           Unsupported.

         A duty to monitor claim is a derivative claim. In re BP ERISA Litig., No. 4:10-cv-4214,

2015 U.S. Dist. LEXIS 147819, at *34 (S.D. Tex. Oct. 30, 2015). “To prevail on these derivative
6
  The testimony of Plaintiffs’ witness, Michael Buchanan, does not change this conclusion. Mr. Buchanan’s method
for forecasting sales—ARIMA—is not useful for predicting corporate sales. This is why, when pushed, Mr.
Buchanan could not identify, in literature or in his experience, even one example of a corporation utilizing ARIMA
to forecast corporate sales (other than a place he had not worked for 17 years). (Tr. 3797:9-3801:10.) Moreover, Mr.
Buchanan’s approach is suspect because he did not compare relative quality of models with less variables to
determine if a different model (that would have different forecasts) was better (Tr. 3815:15-3833:14.) . Moreover,
one can see why ARIMA is not useful for corporations to project sales because the confidence band is so wide as to
be nearly useless (Tr. 3809:07-3811:23.) Finally, his methodology for international sales was flawed in its
application (he used data he should not have) and simplistic to a fault (there is no way any company would project
five years of sales off four months of results compared to plan) (Tr. 3833:18-3838:12.)
7
  Indeed as multiple parties have testified, the principal point of negotiation was over terms related to the warrants.
By Duff insisting on a higher valuation for the warrant and insisting on a relatively low cap on the warrant—and
Houlihan negotiating hard on the point—the principal negotiating parties were expressing substantial optimism
about the future of the Company, each side trying to obtain for their constituency the largest slice of the Company
after ten years. (Tr. 1022:12-1028:2, 1578:14:1-1581:4.)
8
  See Tr. 4147:14-19 (testifying that at the time he was deposed after he had completed his analysis and opinions, he
was “unable to identify any document or testimony in the record [] showing that the projections management
provided to the advisors in this case were unsupportable”). See also Tr. 3991:21-24; Tr. 4053:1-15; 4056:7-4060:22;
DX-747; Tr. 4080:10-18; JX-37.

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claims, Plaintiffs must adequately state a claim for an underlying breach of fiduciary duty by the

appointed fiduciary.” Id. (internal quotation marks omitted). See also Rinehart v. Akers, 722 F.3d

137, 154 (2d Cir. 2013), vacated and remanded on other grounds, Rinehart v. Akers, 134 S. Ct.

2900 (2014) (duty to monitor claim dismissed as derivative of failed duty of prudence claim);

Perez v. Bruister, 54 F. Supp. 3d 629, 671 (S.D. Miss. 2014) (“Claims for breach of the duty to

monitor and for co-fiduciary liability are derivative claims necessitating first some breach of

fiduciary duty.”). Because GreatBanc is the fiduciary that the Antioch Board—we show below

that only the Board had a duty to monitor—is alleged to have insufficiently monitored, Plaintiffs

can only prevail on their duty to monitor claim if they establish that GreatBanc breached its

fiduciary duty.

                      a.      The ESOP Advisory Committee Had No Duty to Monitor.

       It is well-settled that the duty to monitor applies only to a person or entity that has the

power to appoint and remove an ERISA fiduciary. Howell v. Motorola, Inc., 633 F.3d 552, 573

(7th Cir. 2011) (“There is no doubt that those who appoint plan administrators have an ongoing

fiduciary duty under ERISA to monitor the activities of their appointees.”) The Department of

Labor (“DOL”) has similarly issued guidance affirmatively stating that in instances where the

board of directors is responsible for selecting and retaining plan fiduciaries, the board has a

limited fiduciary duty to monitor the selected fiduciaries. 29 C.F.R. §2509.75-8 (D-4). Here it is

undisputed on the record that the Antioch Board of Directors, not the ESOP Advisory

Committee, appointed GreatBanc and it is therefore the only entity with a duty to monitor

GreatBanc. See supra at 7-8. As such, the ESOP Advisory Committee had no duty to monitor

GreatBanc. Howell, 633 F.3d at 573. The Court should therefore grant judgment to Defendants

on the duty to monitor claim in their capacity as members of the ESOP Advisory Committee. Id.;



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Chesemore v. Alliance Holdings, Inc., 886 F. Supp. 2d 1007, 1050 (W.D. Wis. 2012) (no duty to

monitor because defendant’s trustees were not “the appointing fiduciary”).

                           b.       Plaintiffs’ Duty to Monitor Claim Failed Because Plaintiffs Failed
                                    to Establish That GreatBanc Breached Any Duty.

         As noted above, because a duty to monitor claim is derivative, it requires proof of a

breach by GreatBanc. Though this is settled law, Plaintiffs profess not to agree and have litigated

accordingly.9 Plaintiffs have focused their entire case against the remaining Defendants and have

failed to present any evidence that GreatBanc breached its fiduciary duties to the plan. Consider

that in Plaintiffs’ operative Second Amended Complaint—which, fairly read, almost entirely

challenges the conduct of GreatBanc—they allege 19 different breaches by GreatBanc. (Doc.

380 at ¶ 119.) Plaintiffs left the record silent in regard to plead breaches.

         For example, Plaintiffs called Marilyn Marchetti to testify but asked her almost nothing

about what GreatBanc did or did not do. Certainly they did not examine Ms. Marchetti on what

the GreatBanc ESOP Committee took into account at the three meetings it had over two months

to approve the transaction. (DX-204; DX-250; DX-327.) Plaintiffs did not proffer testimony of

any kind from any of the five members of the GreatBanc ESOP Committee other than Ms.

Marchetti, or from any of GreatBanc’s independent legal counsel from Jenkens and Gilchrist that

advised GreatBanc during the transaction, or subpoena Lee Bloom—the engagement lead for

Duff—to testify even though he resides in Chicago and is within the Court’s subpoena power.

         Although Plaintiffs’ expert witness Robert Reilly criticizes the work that Duff performed

in analyzing the transaction on GreatBanc’s behalf, Plaintiffs presented no evidence from an

expert or otherwise that Duff’s alleged failures to adequately account for industry and company-

9
  When examining Marilyn Marchetti, Plaintiffs’ counsel asked her if she was aware that Defendants took the
position that Plaintiffs needed to prove GreatBanc’s liability, then represented that they “certainly don’t agree with”
that position. (Tr. 947:25-948:8.)


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specific risks is evidence that GreatBanc breached any duty. When a trustee is tasked with

evaluating the prudence of an action on behalf of a plan, the duty of care may require the trustee

to engage independent professional advisors. Chesemore, 886 F. Supp. 2d at 1041-42. Although

engaging such an advisor does not provide the trustee a complete defense, doing so serves as

evidence of prudence. Id. at 1042. The trustee must still investigate the advisor’s qualifications,

ensure that the advice it gets is reasonably justified under the circumstances, and ultimately

exercise its own discretion about the proposed plan action. Id.

       Plaintiffs failed to present any evidence that GreatBanc neglected to perform these duties.

To the contrary, Ms. Marchetti testified that GreatBanc engaged Duff and Phelps because it was

one of the top two financial advisors in the industry (the other being Houlihan, who represented

the non-ESOP shareholders). (Tr. 1111:19-1112:1.) GreatBanc had previously engaged Lee

Bloom, the team lead for Duff, and Ms. Marchetti considered him to be “as intelligent, as savvy,

and as expert as anybody in the industry.” (Tr. 1097:16-24.)

       Plaintiffs failed to connect any alleged mistakes by non-fiduciary Duff with a fiduciary

breach by GreatBanc, a connection that requires expert testimony. Plaintiffs rested without

sponsoring any expert in that regard, and put in no factual evidence that allows the Court to

connect Duff’s alleged errors with a breach of prudence by the plan fiduciary, GreatBanc.

       As to the factual evidence as it stood when Plaintiffs rested their case, Ms. Marchetti’s

testimony was unequivocal and unchallenged with respect to the process GreatBanc employed to

vet the advice that Duff provided. GreatBanc’s ESOP Committee met at least three times with

Duff to discuss Duff’s analysis. (DX-204, DX-250, and DX-327.) During those meetings, the

committee reviewed the “very detailed” analysis presented by Duff and was “very heavy with

questions and discussion.” (Tr. 1214:11-1215:18.) The “modus operandi” was to review every



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part of Duff’s analysis “line by line [] [a]nd there’s nothing that’s not covered, presented, and

discussed.” (Tr. 1221:12-19, 1224:1-8.) Far from a rubber stamp, the committee employed its

multidisciplinary background (in areas of finance, law, ESOPs, etc.) to challenge Duff’s analysis

until it was satisfied that its questions had been answered. (Tr. 1218:9-1219:12.) In fact, Ms.

Marchetti testified that she found it “outrageous” that anyone could accuse GreatBanc of failing

to seriously challenge or rigorously question Duff about its advice. (Tr. 1219:13-22.)10

        Plaintiffs’ failure to link its criticisms of Duff to any alleged breach by GreatBanc

requires judgment in favor of Defendants on any duty-to-monitor claim. There is no basis in this

record to find any breach of duty by GreatBanc, and accordingly Plaintiffs’ claims fail.

                         c.       Defendants Satisfied the Duty to Monitor.

        The question of GreatBanc’s breach aside, the Plaintiffs are required to put on evidence

independent of GreatBanc’s breach that the Board breached its duty to monitor. A breach by the

fiduciary is not evidence of the Board’s breach of its duty to monitor.

        The Seventh Circuit has recognized that a duty to monitor is narrow. For example, in

Howell v. Motorola, Inc., 633 F.3d 552, 573 (7th Cir. 2011), the court criticized the plaintiffs for

“essentially ask[ing] us to recognize a duty to monitor that would require every appointing Board

member to review all business decisions of Plan administrators.” Id. This attempted to define the

duty to monitor “much too broadly,” a position that “border[ed] on frivolous.” Id. The Seventh

Circuit in Howell affirmed the district court’s decision in Lingis v. Motorola, Inc., 649 F. Supp.

2d 861, 881–82 (N.D. Ill. 2009), which found an annual review of the appointed fiduciary

10
   Though not our burden to establish GreatBanc’s prudent conduct, for other indicia of prudence, consider that:
GreatBanc selected a leading financial advisor ((Tr. 1097:8-22; Tr. 1111:19-1112:1; Tr. 1358:15-1359:10; Tr.
2479:10-2480:6) and experienced counsel (Tr. 1112:2-15; Tr. 2480:8-17; Tr. 2546:2-5); GreatBanc and its advisers
were active in due diligence (PX-171; PX-174; JX-97; DX-154; Tr. 1228:7-10; DX-240; DX-326; PX-397; DX-111;
DX-121; PX-209; DX-140; DX-141; DX-136; DX-154; DX-229; JX-61; PX-154; Williams Dep. 40:3-41:11);
GreatBanc rejected a prior version of the transaction as unfair to the ESOP (DX-204; JX-30, DX-206; DX-209; DX-
216; DX-217; DX-222; DX-223; DX-225; DX-226; DX-230; DX-234; DX-235); and GreatBanc and Duff diligently
reviewed the terms of the Transaction (DX-253; DX-204; DX-250; DX-327; DX-329; DX-348; JX-37).

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satisfied the duty to monitor. Id. at 882–83. The duty to monitor requires only monitoring “at

reasonable intervals” to ensure that “performance has been in compliance with the terms of the

plan and statutory standards, and satisfies the needs of the plan.” Id. (citing 29 C.F.R. § 2509.75-

8 at FR-17 (Department of Labor questions and answers)).

       Plaintiffs have failed to prove that the Antioch Board breached the modest duty to

monitor the activities that GreatBanc performed pursuant to plan section 5(f). There were only

four months between GreatBanc’s retention and consummation of the 2003 Transaction. In that

time, GreatBanc representatives met with the Board of Directors on two separate occasions. (Tr.

1198:16-1200:25; JX-20; JX-21; JX-22; JX-40.) Moreover, members of Antioch’s management

team were in frequent communication with GreatBanc and it advisors during the negotiation of

this transaction and reported to the Board. (Tr. 1489:4-7.) In addition, at an important Board

meeting on October 16, 2003, the management “transaction team” presented the Board with a

written and verbal report about GreatBanc’s negotiating positions and GreatBanc’s financial and

analytical rationales supporting its position. (JX-33; JX-34.)

       The foregoing evidence at the close of Plaintiffs’ case in chief does not support Plaintiffs’

claim that Lee Morgan and Asha Moran, in their capacities as members of Antioch’s Board of

Directors, breached their duty to monitor GreatBanc.

               4.      Plaintiff’s Duty to Inform Claim

       The second facet of Plaintiffs’ derivative ERISA section 404 claims alleges that

Defendants breached their ERISA duties by failing to provide certain information to GreatBanc.

Plaintiffs’ claim fails because there is no ERISA provision that supports a so-called duty to

inform on Defendants. That legal issue aside, the evidence shows that GreatBanc or its financial

or legal advisors knew or should have known of the allegedly missing information. And, in any

event, Plaintiffs have failed to carry their burden of proof that GreatBanc’s decision not to tender

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the shares would have been different with the allegedly missing information in hand. In other

words, Plaintiffs’ failed to carry their burden to show that the alleged failure to inform

proximately caused loss to the plan.

                       a.      There is No Duty to Inform Under ERISA Section 404.

       Plaintiffs’ claim based on the alleged failure of Defendants to inform GreatBanc of

certain information fails at the outset as a matter of law because ERISA contains no such duty.

Two very recent decisions rejected the concept of a duty to inform as unsupported by the plain

language of ERISA after a thorough analysis.

       First, in In re Lehman Brothers Security and ERISA Litigation, No. 08-cv-5598, 2015

WL 4139978 (S.D.N.Y. July 10, 2015) the court examined an appointing fiduciary’s duty to

inform as an aspect of the duty to monitor and stated “nothing in ERISA itself or in traditional

principles of trust law creates such a duty [to inform].” Id. at *14. As in the case before the

Court, “Plaintiffs’ conception of the proposed duty to inform would transform [the appointing

fiduciary’s] limited obligations under ERISA into all-encompassing ones. Whenever [the

fiduciary] received information in any business capacity, he would have been obliged to consider

whether ERISA required disclosure of that information to the Plan Committee.” By “effectively

turning all of [the fiduciary’s] business duties into ERISA duties, plaintiffs’ proposed duty to

inform would stretch the concept of fiduciary duty far beyond what ERISA contemplates.” Id.

(emphasis in original). Moreover, noting that ERISA is already a comprehensive and elaborate

statute, the court reasoned that “[a]dding additional requirements to this complex statutory

scheme is not to be undertaken lightly.” Id. at 15.

       The second opinion is In re BP ERISA Litigation, No. 4:10-cv-4214, 2015 U.S. Dist.

LEXIS 147819 (S.D. Tex. Oct. 30, 2015). This opinion was the subject of our notice of

supplemental authority (Doc. 603) and we incorporate that by reference. As noted in that

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document, the BP ERISA court undertook an exhaustive review of the law and found that a duty

to inform was not supported by case law or statute, holding that ERISA’s duty to monitor “does

not impose a duty on monitoring fiduciaries to keep their appointees apprised of material, non-

public information” in the possession of a sponsor company like Antioch. Id. at *36.

           These two opinions are particularly persuasive for two reasons. First is that they fit neatly

within the Seventh Circuit’s narrow definition of a duty to monitor imposing an ERISA-based

duty on Board members of the sponsor company who otherwise have no ERISA-based fiduciary

duties. Second, the decisions are product of impressive statutory analysis.

           In their trial brief, Plaintiffs cited just one case purportedly supporting a so-called duty to

inform. But that case, Brieger v. Tellabs, Inc., 629 F. Supp. 2d 848, 867 (N.D. Ill. 2009),

contains just two paragraphs with respect to the duty to monitor and makes only a passing

reference to a duty to provide information, with no analysis. Id.11 The court, however, did not

apply the duty to inform concept in that case, instead finding that the duty to monitor claims are

derivative of otherwise dismissed claims and granting judgment on that basis.12 And the two

cases to which Brieger cites likewise fail to support the notion of a duty to inform. In fact, the

court in Howell v. Motorola, Inc., 337 F. Supp. 2d 1079, 1099 (N.D. Ill. 2004), later issued an

opinion granting summary judgment to the defendants in that case, expressing “skepticism” that

fiduciaries based “on their power to appoint and remove members of the Committee [] could owe

Plan beneficiaries a duty to inform the Committee of facts…[.]” Lingis v. Motorola, 649 F. Supp.




11
     (Doc. 523 (Pls.’ Trial Br.) at 2, 7, 18.)
12
  To the extent Brieger is relevant to anything, it is for its statement that duty to monitor claims are only viable
upon a breach of duty by the monitored fiduciary. Id. at 867.


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2d 861 (N.D. Ill. 2009).13 The Seventh Circuit affirmed the Lingis opinion and, as noted earlier,

stated that the plaintiffs were trying to stretch the duty to monitor much too broadly. Howell, 633

F.3d at 572-73. As such, the language to which Plaintiffs cite in Brieger is nothing more than

unapplied dicta in an opinion that should not be interpreted as expanding the duty to monitor.

        In sum, a “duty to inform” has never been expressly recognized by the Seventh Circuit.

Moreover, the Seventh Circuit’s narrow interpretation of the duty to monitor in Howell strongly

suggests that the duty to monitor is not to be expanded, as Plaintiffs seek to do here, beyond

interval-timed review of the appointed fiduciary. This interpretation of the duty to monitor is

fully consistent with the Seventh Circuit cases and DOL guidance stressing the limited nature of

the duty and the rejection of the duty to inform in In re Lehman Brothers Sec. and ERISA Litig

and BP ERISA. Because ERISA does not impose a duty to inform, judgment is appropriate for

Defendants as a matter of law.

                        b.      If a Duty to Inform Exists Generally, Mr. Morgan and Ms. Moran
                                Were Prudent Under the Circumstances

        Even if the Court holds that the duty to inform is a part of the duty to monitor, Plaintiffs

failed to prove that Mr. Morgan and Ms. Moran breached such a duty because their conduct was

reasonable under the circumstances. In considering this issue, it is important to recall that the

reason the duty to monitor exists is so that an appointing fiduciary “cannot escape liability by

passing the buck to another person and then turning a blind eye.” Howell, 633 F.3d at 573.

Nothing like that occurred here.

        Instead, rather than turning a blind eye, the Board of Directors put in place important

procedural safeguards to ensure GreatBanc was informed. First, the Board authorized one of its


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  The case names can be confusing because the named plaintiff changed a number of times. For background and
confirmation, see Lingis v. Motorola, Inc., 649 F. Supp. 2d at 868-69.


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own directors, Nancy Blair, to leave the Board to take on the full-time role of managing the

project and the diligence process from the Company’s perspective. (JX-21; Tr. 1512:22-

1513:21.) Second, the Board of Directors approved the retention of talented, independent

advisors for itself, the ESOP and the selling shareholders that the evidence established all had

significant experience with ESOP transactions. (JX-20, JX-21; DX-241; Tr. 1111:19-1112:1; Tr.

1194:19-1195:9; Tr. 1488:5-1490:24). As a result, as Mr. Morgan and Ms. Moran testified,

neither McDermott nor Deloitte, two advisors specifically chosen because of their expertise and

experience in ESOP transactions and who were aware of the information at issue, ever advised

the Board that it should be provided to GreatBanc, nor were they ever informed of information to

lead them to believe that information that was material to GreatBanc was withheld. (Tr. 1561:16-

23; 2294:22-2296:23; 3097:10-3098:4.)

        This is not to say that monitoring directors may “turn[] a blind eye.” Obviously they

cannot. Howell, 633 F.3d at 573. And were the facts of this case different—had the Company not

designated a transaction lead, had the Company not set up a war room, had the Company not

hosted broad diligence meetings, were there no independent advisors retained, if the ESOP

trustee was a stooge, were there not independent directors—then perhaps it could be said that

Mr. Morgan and Ms. Moran acted inappropriately. But taking in all of the facts and procedural

safeguards, on the specific facts of this case, the Board directors, including Mr. Morgan and Ms.

Moran, acted prudently with respect to a duty to inform knowing that the talented advisors were

free to request what they wanted or needed, and that others were responsible for providing

information. On these facts, this cannot be considered a “blind eye.” Id. Because Plaintiffs’

evidence was insufficient to prove that the Board breached a duty to inform, judgment on the

claim at the close of Plaintiffs’ case is proper.



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                       c.     Plaintiffs Failed to Prove that GreatBanc Was Not Informed and in
                              any Event, that the Information was Material.

       Plaintiffs’ duty to inform claim also fails because the evidence shows that GreatBanc

actually had or should have known of the information Plaintiffs highlight. See Exhibit B (chart

outlining each category of allegedly undisclosed materials identified in Plaintiffs’ trial brief and

the record evidence showing that GreatBanc knew or should have known of the information).

       Moreover, Plaintiffs did not provide the Court with any evidence that the information

they claim was not provided to GreatBanc was or would have been material to GreatBanc’s

analysis of the transaction on behalf of the ESOP and would have resulted in GreatBanc

accepting the tender offer or demanding a change in the deal terms.

       Plaintiffs had two ways they could have tried to establish materiality of the allegedly

missing information: expert opinion or fact evidence. On the former, expert opinion, Plaintiffs

could have retained an expert—an experienced ESOP transactional trustee perhaps—to review

the factual information that was provided to GreatBanc, then review the material that Plaintiffs

claim should have been provided but supposedly was not, and seek the expert’s opinion on

whether the claimed-to-be-missing information would have been material to a trustee in the

expert’s view. Plaintiffs do not have such an expert.

        As to fact evidence, Plaintiffs failed to subpoena Mr. Bloom and ask him if the missing

information was material. Ms. Marchetti testified that she did not know what the effect of

receiving the information would have been. Indeed she was unable to testify that even one

particular piece of information would have made a difference in GreatBanc’s analysis. For

example, Plaintiffs asked Ms. Marchetti many different ways about whether the Deloitte models

were material or would have changed the deal in some way. She never said anything approaching

what Plaintiffs might need to prove materiality or causation. For instance, Ms. Marchetti testified


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that “If we had been provided those four documents [the Deloitte models], which I assume were

the lower projections, it would have generated additional discussion. I can’t speculate as to what

the results would have been of those further discussions.” (Tr. 1044:3-6; see also Tr. 1041:12-15,

Tr. 1042:4-6, Tr. 1044:12-15.)

        Ms. Marchetti’s answer was the same as it relates to the Board of Director’s December 4

sensitivity analysis: “I can’t speculate as to what the questions might have been if I had seen this.

It just would have generated more inquiry.” (Tr. 1050:17-19.) Perhaps most notably, Ms.

Marchetti was asked, without the proper context, about a line from the December 4 Board

presentation suggesting that under a certain downside scenario, the ESOP might be “worse off”

under the transaction relative to the status quo. Ms. Marchetti testified: “I would have liked to

have seen the statement so that I could ask additional questions. I don’t know if it is or isn’t

material and I can’t speculate.” (Tr. 1054:3-5.)14

        Plaintiffs similarly failed to elicit any evidence from Ms. Marchetti that the Plan

Amendment or the revised repurchase obligation study would have influenced GreatBanc’s

analysis in any way, or in what measure. Plaintiffs have failed their burden of proof to show by a

preponderance of evidence that the allegedly missing information was material to GreatBanc’s or

Duff’s fairness analysis, or would have caused GreatBanc to either renegotiate the deal or tender

the shares. As such, judgment for Defendants is appropriate on the duty to inform claim on this

ground too. Keach v. U.S. Trust Co., 419 F. 3d 626, 638 (7th Cir. 2005) (materiality of missing

information a prerequisite to liability).



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   Ms. Marchetti’s answers here emphasize just how little GreatBanc and Duff were relying on company financial
information. Instead, as makes total sense under the circumstances, Duff ran their own independent analysis. As the
Duff presentation to GreatBanc makes clear, Duff did its own Company forecasts for the ten-year transaction period.
(JX-37.)


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            B.      Plaintiffs Have Failed to Offer Evidence Sufficient to Prove Their ERISA
                    Section 406(a) Claim.

            As with the 404 prudence claim, Plaintiffs’ claim against Defendants under section

 406(a) is dependent upon proof that GreatBanc violated ERISA section 406(a). Plaintiffs did not

 offer any evidence to support a GreatBanc violation, so liability against Defendants for equitable

 relief under ERISA section 409 for GreatBanc’s violation of ERISA section 406(a) has no

 support in the record at the close of Plaintiffs’ evidence.

            Pursuant to 29 U.S.C § 1106(a)(1)(A), “a fiduciary with respect to a plan shall not cause

 the plan to engage in a transaction, if he knows or should know that such transaction constitutes a

 direct or indirect sale or exchange, or leasing, of any property between the plan and a party in

 interest.” Judgment for Defendants on this claim is appropriate because: (1) the Defendants did

 not “cause” the plan to engage in the 2003 Transaction; and/or (2) the 2003 Transaction was not

 a direct or indirect transaction between the plan and a party in interest.

                    1.       Defendants Did Not Cause the Plan to Engage in Any
                             Transaction.

            The Supreme Court, mindful of Congress’ balance of competing interests in drafting

 ERISA, has held that courts must apply the plain text of the statute. Mertens v. Hewitt Assoc.,

 508 U.S. 248, 261–62 (1993). The plain language of section 406(a) imposes liability only on a

 fiduciary that “cause[s]” the “plan” to “engage” in a transaction. Here, neither Defendants nor

 GreatBanc “caused” the plan to do anything.

            “Cause” is defined in a general sense as “to make something happen.”15 Consistent with

 this basic definition, a person cannot “cause” a prohibited transaction unless he or she

 “exercise[s] discretionary authority or control” over whether the plan enters into the transaction.

 Sommers Drug Stores Co. Emp. Profit Sharing Trust v. Corrigan, 883 F.2d 345, 352 (5th Cir.

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     http://www.merriam-webster.com/dictionary/cause.

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1989) (“The jury’s finding that the defendants did not exercise discretionary authority or control

over the trustees’ decision to sell the trust stock is also a finding that they did not ‘cause’ the plan

to enter into such a transaction.”). Here the only evidence in Plaintiffs’ case is that GreatBanc,

and not Defendants, exercised all discretionary authority to determine whether the ESOP would

engage in the 2003 transaction by tendering the ESOP shares to the Company. (JX-39

(Amendment No. 1 to the Amended and Restated Plan).) Because discretionary authority over

the decision to effectuate the transaction is absent, Defendants did not “cause” the plan to engage

in a transaction and judgment for Defendants on the prohibited transaction claim is appropriate.

See Chesemore, 886 F. Supp. 2d at 1050-51 (party without discretionary control “did not cause”

the transaction and was thus not liable under section 406). A defense judgment at this point of

the case is therefore appropriate.

                2.      The Plan Did Not Engage In a Transaction With a Party In
                        Interest.

        There is an additional statutory problem with Plaintiffs’ prohibited transaction claim. The

plan did not “engage” in a transaction, as the statute requires. Plaintiffs have never identified a

single judicial decision imposing section 406 liability in a transaction like the 2003 Transaction.

        With respect to the structure of the transaction, the evidence at the trial came in exactly as

Defendants said it would in opening statements. The Antioch Company extended a tender offer

to its shareholders. (JX-40 (GBT00111).) All of the non-ESOP shareholders accepted the tender

offer while GreatBanc exercised its discretionary authority on behalf of the ESOP not to tender

the ESOP’s shares. (Tr. 2492:3-2493:5.) GreatBanc’s decision meant that only the Company

“engaged” in a transaction with non-ESOP selling shareholders. (Id.) The ESOP—the only party

relevant for purposes of the prohibited transaction analysis—made an explicit decision through

GreatBanc not to engage in a transaction. (Id. See also JX-40.)


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          Because the ESOP did not engage in a transaction of any sort, it logically follows that the

ESOP did not engage in a transaction with a party in interest. The only transaction that occurred

was a typical corporate transaction between a sponsor company and its non-ESOP shareholders.

The ESOP did not buy or sell shares in the transaction. Structurally, the evidence shows that the

number of shares and amount of assets was the same after the transaction as it was before it. The

evidence in Plaintiffs’ case actually showed that the ESOP did not come into possession of the

selling shareholders’ shares of stock in the Company, even indirectly through a third-party

intermediary, nor did the selling shareholders receive assets of the ESOP directly or indirectly.

This lack of a sale or exchange of plan property is fatal to a prohibited transaction claim.

Middleton v. J. Hoyt Stephenson, No. 2:11-CV-313 TS, 2011 U.S. Dist. LEXIS 141495, at *4–7

(D. Utah Dec. 8, 2011) (finding no prohibited transaction because “a sale or exchange between a

plan and a party in interest would involve an exchange of some form of plan property” which

was absent) (emphasis in original).

          Nor was there an indirect prohibited transaction, a concept that is not some general

catchall. Rather, “Section 406 specifically includes indirect transactions in order to prevent

parties from avoiding its restrictions through ‘the interjection of a third party into an otherwise

prohibited transaction.’” Neil v. Zell, 677 F. Supp. 2d. 1010, 1027 (N.D. Ill. 2010) (quoting

Brock v. Citizens Bank of Clovis, 841 F.2d 344, 347 (10th Cir. 1988)). For example, says Zell,

“just as a plan could not purchase an aircraft from a party in interest, neither could it buy the

aircraft from a third party that had purchased it from the party in interest in an attempt to avoid

ERISA’s restrictions.” Id. (citing McDougall v. Donovan, 552 F. Supp. 1206, 1216 (N.D. Ill.

1982)).




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         In other words, even in an alleged indirect prohibited transaction, a plaintiff must still

demonstrate that the plan participated in a transaction and a party in interest received plan

property. The plaintiff in Zell, for example, showed that the ESOP made a $250 million payment

at the time of the transaction at issue. Id. at 1027. And the court in McDougall found an indirect

prohibited transaction when the plan purchased an airplane from a party in interest for nearly $3

million with both the plane and the purchase funds routed through an intermediary. 552 F. Supp.

at 1216. In both instances, the plans at issue “engaged” in transactions and parted with assets as

set forth in section 406(a). And in both instances, the plans’ assets found their way to the hands

of a party in interest indirectly, through a third party. These circumstances constituted an indirect

prohibited transaction. The circumstances here are different because the plan never parted with

any assets and Defendants did not receive any plan assets.16 A defense judgment is appropriate.

         C.       Plaintiffs Have Failed to Offer Evidence Sufficient to Prove Their ERISA
                  Section 405 Claim.

         Plaintiffs presented no evidence to support their co-fiduciary claim pursuant to 29 U.S.C.

§ 405(a)(1-3). Liability under §405 requires that a fiduciary have actual knowledge of a breach.

Mejia v. Verizon Mgmt. Pension Plan, No. 11C3949, 2012 U.S. Dist. LEXIS 61090, at *32 (N.D.

Ill. May 2, 2012); Keach v. U.S. Trust Co., N.A., 240 F. Supp. 2d 840, 844 (C.D. Ill. 2002);

Donovan v. Cunningham, 716 F.2d 1455, 1475 (5th Cir. 1983). In fact, courts have referred to

liability arising under § 405(a) as “knowing participation liability.” In re Touch Am. Holdings,




16
   This all goes to also show that the Plaintiffs’ position, as plead, that the 2003 tender offer was in “economic
substance” a transaction with the plan is contrary to the plain statutory language of section 406(a) that this and other
courts and bound to apply.


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Inc., No. CV-02-106, 2006 U.S. Dist. LEXIS 94707, at *37 (D. Mont. June 15, 2006).17

Moreover, a section 405 claim is indisputably derivative in nature.

         As described above, Plaintiffs failed to meet their burden of proof to establish a breach of

duty by GreatBanc. Beyond that, when Plaintiffs examined Ms. Attiken, Mr. Morgan and Ms.

Moran, they did not attempt to elicit testimony regarding any knowledge they had of a supposed

breach of duty by GreatBanc (much less actually establish evidence of an actual breach).

Because Plaintiffs did not prove (1) an actual breach by GreatBanc and (2) Defendants’ actual

knowledge of any such breach, the Court should enter judgment for Defendants.

         D.       Plaintiffs Have Not Proved That the Transaction Caused Any Damages.

         ERISA makes a fiduciary liable only for losses “resulting from” a breach, a causal

connection is required to award damages or impose monetary liability. 29 U.S.C. § 1109(a); see

Brandt v. Grounds, 687 F.2d 895, 898 (7th Cir. 1982) (“a causal connection is required between

the breach of fiduciary duty and the losses incurred by the plan”). Here Plaintiffs claim that the

breach of section 404—in whatever capacity—caused Plaintiffs damages. But the per share value

of the stock held by plan participants was $44 greater two weeks after the transaction and nearly

$100 more a year later. (JX-63; JX-74; Tr. 2611:21-2613:13.) It was not until 2006 that the

Company experienced a double digit sales decline no witness has linked to the transaction. (Tr.

2576:23-2578:2; Tr. 3991:21-24 (Reilly: “I don’t know that anyone was able to predict 2006 and

2007 because the company’s results were a lot lower than any projection, any forecast

indicated.”); Pollack Dep. 98:2-99:20.)




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   It is not sufficient for a plaintiff to claim that merely because one fiduciary committed a breach, each co-fiduciary
is also liable under §405(a). Instead, the plaintiff must plead facts establishing both the underlying breach and the
grounds giving rise to the co-fiduciary liability. Howell v. Motorola, Inc., 337 F. Supp. 2d 1079, 1102 (N.D. Ill.
2004).

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       Plaintiffs bear the burden of establishing that damages resulted from the breach as

opposed to competitive pressures within the industry or the broader economic collapse occurring

at the same time. And they have failed to do so. Despite seeking to obtain a nine-figure judgment

against Defendants, Plaintiffs failed to engage any sort of expert witness to make the connection

between the transaction or any term of the transaction and the subsequent sales decline that led to

Antioch’s eventual demise five years later. And even if Plaintiffs could somehow prove this

causal link without an expert, they have failed to develop any factual evidence that can bridge

that gap. In fact, Plaintiff Monica Woosley admitted that she “did not connect the decline in sales

to the 2003 transaction.” (Tr. 2576:23-2577:6.)

       Chesemore v. Alliance Holdings, Inc., 948 F. Supp. 2d 928, 942 (W.D. Wis. 2012) is

instructive on Plaintiffs’ failure to prove causation to the exclusion of other possible causes. In

that case the court held that plaintiffs did not meet their burden of proof on causation because

they “ignore[d] the tsunami that was the 2008 financial crisis.” The court indicated that even if

the company stock owned by the ESOP was initially overvalued, that the company held its

position for two years, only collapsing after the financial crisis had really arrived. Accordingly, a

judgment for plaintiffs would award them “the entire purchase price of Trachte despite the 2008

recession being the principal cause of its precipitous loss in value.” Id.

       All of the same facts exist in this case. Antioch stock appreciated twice after the

transaction. Even three years later the stock was valued at $786 per share. By this time, no

reasonable connection to the transaction exists (and certainly not in a way that Plaintiffs have

tried to quantify). Only when the financial crisis hit and the iPhone (2006) and social media

combined to alter substantially customer behavior did the Company really decline financially.

Plaintiffs, as is their burden, cannot sort out one cause of decline from another. Judgment in the



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entire amount of the transaction price cannot be entered under those circumstances. Plaintiffs’

position is untenable and unreasonable and must be rejected. 18

        E.       Plaintiffs’ Claims Fail Because of Lack of Proof of Damages.

                 1.        Plaintiffs Have No Viable Damages Theory

        Even if they were able to establish liability against Defendants, Plaintiffs have a burden

with respect to proving their damages that they failed to carry.

        Plaintiffs’ pretrial order (Doc. 521, PAGEID# 20142-43) indicates the damages theories

Plaintiffs sought to prove in their case-in-chief. The primary remedy Plaintiffs were to prove is

rescission of the 2003 Transaction, seeking a cash award of $233,483,100, representing the cash,

notes, and warrants said to have been received by the selling shareholders. Plaintiffs are not

entitled to such relief.

         “A rescission is an avoidance of a transaction. . . . Except as the parties might agree to

the contrary, rescission will normally be accompanied by restitution on both sides.” Griggs v.

18
    Because it is a recent case from within this Circuit challenging an ESOP transaction, the parties and the Court
have had occasion to cite to different opinions in the Chesemore litigation. The Court may find it notable to compare
just how different the facts of that case are compared to the present. David Fenkell was in the business of buying
control of ESOP companies. He and his affiliated companies (Alliance) would “buy companies with an ESOP, fold
these ESOPs into the Alliance ESOP, hold and expand the companies over a relatively short period of time and then
flip them at a profit, benefitting Alliance generally and Fenkell in particular as he personally redeems phantom
stock.” Chesemore v. Alliance Holdings, 886 F. Supp. 2d 1007, 1012 (W.D. Wis. 2012). Alliance purchased a
company called Trachte and merged the Trachte ESOP participants into the Alliance ESOP. A few years later
Fenkell and Alliance were trying to double their money. Through a series of complex transactions—that included
using participant shares as collateral for loans—the Trachte ESOP purchased equity from Alliance. Id. at 1012-13.

“All of this might have been fine, except that Alliance also orchestrated the parties so that no independent person
was looking out for the employees’ interests in the Alliance or the Trachte ESOP.” Id. at 1013. Just a week before
the transaction, Alliance appointed two individuals beholden to it as the sole members of the Trachte board of
directors. The board then adopted a new ESOP and appointed new ESOP trustees. These trustees realized “at the
eleventh hour” that they were under a conflict. They attempted to hire an independent fiduciary but the party hired
had essentially no relevant experience. Id. at 1030.

Though there is more, it is sufficient to stop there in distinguishing Chesemore. In this case there was no profit
motive established by any selling shareholder. There was no corporate raiding going on. Lee Morgan specifically
wanted not to leverage the ESOP. The Antioch Board of Directors had nine, mostly independent members. Alliance
named two non-independent directors as the sole members. The sale process in Chesemore was rushed and there
was no independent, qualified advisor representing the ESOP; here, there is no dispute that Antioch hired the best.
Chesemore is a case where one can understand why the ESOP plaintiffs prevailed (in part). But the facts are so
different from the current case as to compel a defense judgment here.

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E.I. DuPont de Nemours & Co., 385 F.3d 440, 445 (4th Cir. 2004) (citing Dan B.

Dobbs, Handbook on the Law of Remedies § 4.3 at 254 (West 1973)).

         Plaintiffs’ rescission claim simply does not fit the facts of this case. Since the ESOP did

not part with any assets, Defendants are not in possession of any Plan assets to return to the

ESOP. Also, because Defendants tendered their non-ESOP Antioch shares to the Company,

Plaintiffs are not in possession or control of those shares to return to Defendants to effectuate a

rescission remedy. Accordingly, because Plaintiffs failed to show in their case in chief that

Defendants are in possession and control of Plan assets and that the Plan, or Plaintiffs, are in

possession and control of the Antioch shares tendered by Defendants to the Company in 2003, a

rescission theory of damages does not fit with the evidence Plaintiffs put in the record in their

case. Judgment in Defendants’ favor under Rule 52(c) is appropriate since Plaintiffs have failed

to meet their burden. See Zell, 2010 U.S. Dist. LEXIS 80744, at *7 (“Plaintiffs cannot explain

why they are entitled to repayment of funds that originated with [the company].”); Chesemore,

948 F. Supp. 2d at 947 (rescission inappropriate where Plaintiff was unable to return stock).)19

         Plaintiffs’ alternative damages theories also suffer from legal and factual impediments.

One such proposed damages model is to recover cash that was in the ESOP that was used to pay

ESOP repurchase liability in 2004. This damages theory does not work. The evidence in

Plaintiffs’ case is that in 2004, the ESOP redeemed shares put to the ESOP by employees and the

ESOP thereafter recycled the shares into participant accounts. (Hoskins Sept. 16, 2011 Dep.

303:21-304:16.) Said another way, the ESOP simply replaced one asset (cash) with another

(Antioch stock) in participant accounts, and in fact the Antioch stock that was substituted for


19
  In addition, rescission is inappropriate because Plaintiffs do not seem to seek return of the notes and warrants that
Defendants received; they want a cash asset when Defendants received a combination of cash, notes and warrants.
Moreover, Plaintiffs’ figure of over $200 million includes assets received by parties that are not before the Court.


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cash at $894 grew to a value of $943 per share, thereby increasing the account’s value. (JX-63;

JX-74.) Multiple witnesses have testified that the ESOP recycling that was used in 2004 is a

common method for satisfying an ESOP’s repurchase obligation. (Tr. 1638:11-1639:15; Tr.

3367:3-13.) For these reasons, and because Plaintiffs have no evidence on a participant-by-

participant basis whether some, none, or all participants preferred cash as opposed to the Antioch

shares that had been increasing in value over the prior ten years in their accounts, Plaintiffs’

damages theory based on the ESOP recycling must fail.20

           Plaintiffs also identified several additional damages theories that all fail for lack of

sufficient causation evidence. ERISA makes a fiduciary liable only for losses “resulting from” a

breach, a causal connection is required to award damages or impose monetary liability. 29

U.S.C. § 1109(a); Brandt v. Grounds, 687 F.2d 895, 898 (7th Cir. 1982) (“a causal connection is

required between the breach of fiduciary duty and the losses incurred by the plan”). By way of

example only, Plaintiffs assert a proper measure of damages is the difference in net plan assets

available in 2003 compared to today when that number is $0. Plaintiffs failed to offer evidence

that will delineate between what loss to the ESOP was proximately caused by what term or

provision of the 2003 Transaction and what loss is attributable to any other possible cause. See

e.g., Chesemore, 948 F. Supp. 2d at 941 (plaintiffs did not meet burden of proof on causation

because they “ignore[d] the tsunami that was the 2008 financial crisis”). Plaintiffs’ failure to

prove a single, viable damages theory compels judgment in Defendant’s favor, in addition to all

the other independent reasons discussed above.

                   2.       Plaintiffs’ Lack of Evidence Through Mr. Reilly

           Plaintiffs’ expert Robert Reilly fails to offer a viable measure of damages under both his

“first flaw” and his “second flaw.”
20
     The evidence also shows that the ESOP recycling in 2004 was authorized under the Plan. (JX-71; JX-72; JX-73.)

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        Reilly’s five discounted cash flow scenarios – which he uses to compute a range of pre-

transaction share values under his “first flaw” – are methodologically flawed and unsupportable.

Two of his DCF scenarios (FTI1 and FTI2), including the one he ultimately chose for his

damages calculation (FTI1), are based on an ARIMA methodology that no witness has

established is appropriate for projecting corporate sales 10 years in the future.21 Instead, the trial

testimony has been just the opposite. (Tr. 1944:16-1945:17; 3154:2-3164:20; 3797:9-3801:17;

4048:9-4051:16; 4141:24-4142:9; 4155:23-4156:15; DX-423; DX-424; DX-432; DX-441; DX-

448; DX-456.) Moreover, it is undisputed that Antioch did not have the software or capabilities

for using ARIMA or econometric modeling at the time of the 2003 transaction. (Tr. 3464:7-13;

3467:20-3468:1; 3654:16-24, DX-456.)

        The two DCFs based on Deloitte’s “Downside” and “Big Downside” feasibility models

are likewise unsupportable. It is undisputed that these downside scenarios did not incorporate

any specific risks or reasonable expectations of the company’s future business, but were merely

scenario analyses to test the cash flows should the company’s performance fall in one case

below, and in the other case far below, what management expected performance to be. (Tr.

1302:9-1303:1; Tr. 1555:15-1557:15; 4144:24-4145:13.) In fact, Reilly testified he was prepared

to work with any of the 25-plus Deloitte models and adjust them to reach his intended value

conclusions, but only chose the downsides because they required less of a “Robert Reilly”

discount rate adjustment which, he believed, would therefore subject him to less cross

examination. (4145:16-4146:11; 4150:23-4152:6.)


21
   Because Mr. Reilly relied blindly on Mr. Buchanan’s projections and did not do any independent analysis to
confirm the reliability of those forecasts, his opinion should be excluded or given no weight. TK-7 Corp. v. The
Estate of Ishan Barbouti, 993 F.2d 722, 732 (10th Cir. 1993) (opinion improper under Fed. R. Ev. 703 when “there
[wa]s no indication in the record that Dr. Boswell had any familiarity with the methods or reasoning used by Mr.
Werber in arriving at his projections.”). Indeed, not only did Mr. Reilly do no analysis of ARIMA, he had no
experience with it before. (Tr. 4048:9-4051:16.) This makes the opinion improper.

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       Reilly’s fifth and final DCF analysis also fails to offer a viable measure of damages.

After a couple of telephone calls of unknown length with Mark Mizen, Rhonda Anderson, and

Richard Wiser, a purported review of the “industry” and company trends facing Antioch in 2015

based on selective documents provided by Plaintiffs’ counsel, and without the benefit of

interviewing management or any other businesspeople at the company in 2003, Reilly took Duff

& Phelp’s DCF analyses and simply applied a “Robert Reilly” 5% company specific risk

premium (“CSRP”). (Tr. 4064:6-4065:7; 4074:3-25; 4078:11-15; 4150:23-4152:6; 1532:4-

1535:17; JX-17; JX-37). This single change based “entirely” on Reilly’s judgment lowered the

per-share value from $845 to $590. (PX-870, at Ex. 14, 19b, 20.) Reilly made this drastic

adjustment, yet admitted that at the time of his deposition when all of his opinions were

complete, he could not identify any document or testimony in this record that the projections

management provided to Duff & Phelps were unsupportable – projections which he also

admitted were materially higher than the projections Duff & Phelps used for purposes of their

fairness analysis. (Tr. 4147:14-19; 4117:11-4121:19; JX-37; PX-213.) Ultimately, Reilly

testified that apart from the purported failure to adequately account for a few discrete risks, he

completely agreed with all of Duff & Phelps’ analysis (including their adjustment for the risk of

international and new business ventures). (Tr. 3931:1-3934:8.) In his opinion, the difference

between his analysis and that of Duff & Phelps ultimately came down to a reasonable difference

of business judgment between two skilled valuation experts. (Tr. 4114:1-23.)

       Reilly’s “second flaw” damages are similarly flawed and unsupportable. As a first step,

Reilly completely excludes from his analysis a third of the repurchase obligation scenarios run




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by Plaintiffs’ expert David Weinstock.22 (PX-870, at ¶ 216; Tr. 4157:5-18.) Reilly then takes

David Weinstock’s remaining repurchase obligation scenarios cherry-picked by Plaintiffs’

counsel, averages them, discounts them to present value, concludes that Duff & Phelps used a

repurchase obligation projection that was $80 million dollars too low, and then deducts that full

$80 million dollars directly from the Company’s enterprise value. (PX-870, at Ex. 6a, 7, 21; Tr.

4157:19-4158:11.) No other valuation professional in this case involved with the Antioch

company outside the context of litigation accounted for the potential future repurchase obligation

in this manner. (Tr. 4164:22-4165:11.) And the way that Reilly then proceeds to calculate the

share value post transaction is methodologically flawed and patently unfair. Reilly directly

deducts the full $80 million dollar potential future repurchase obligation he calculated from the

Company’s enterprise value, but he does not give the Company anything in return. In other

words, even though the Company would use that $80 million dollars to redeem and therefore

reduce the total number of outstanding shares, Reilly does not reduce the total number of shares

outstanding in his analyses. (Tr. 4160:22-4163:17; PX-870, at Ex. 21.)

        Even if Plaintiffs had been able to prove liability and causation, both Reilly’s “first flaw”

and “second flaw” damages calculations are unsupportable and fail to establish a viable claim of

damages.


IV.     CONCLUSION

        Plaintiffs failed to meet their burden of proof on their section 404, 405, and 406 claims

against Defendants. The Court should grant judgment to Defendants pursuant to Rule 52(c).




22
  Reilly also apparently does not understand David Weinstock’s repurchase obligation analyses. Reilly repeatedly
 testified that the starting share price assumption in Weinstock’s scenarios was $680 per share, even thought it was
 in fact $840.26 per share. (Tr. 4190:25-4191:11; PX-868, at Exhibit III.)

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                                              Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

         I hereby certify that on December 21, 2015, I caused true and correct copies of the

foregoing to be filed electronically using the Court’s CM/ECF system and to thereby be served

upon all registered participants identified in the Notice of Electronic Filing in this matter on this

date. This document is available for viewing and downloading on the CM/ECF system.



                                                       /s/ Michael L. Scheier
                                                      Michael L. Scheier




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